Case: 5:15-cr-00066-JMH-EBA
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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt            POTTER STEWART U.S. COURTHOUSE              Tel. (513) 564-7000
        Clerk                      CINCINNATI, OHIO 45202-3988            www.ca6.uscourts.gov




                                        Filed: April 13, 2017




 Mr. Robert R. Carr
 Eastern District of Kentucky at Lexington
 101 Barr Street
 Lexington, KY 40507

                Re: Case No. 16-5045/16-5047/16-5067, USA v. Winona Cox
                    Originating Case No. : 5:15-cr-00066-1

 Dear Clerk,

    Enclosed is a copy of the mandate filed in this case.

                                        Sincerely yours,

                                        s/Roy G. Ford
                                        Case Manager
                                        Direct Dial No. 513-564-7016

 cc: Mr. Neeraj K. Gupta
     Mr. Matthew Ryan Malone
     Mr. Kenneth R. Taylor
     Mr. Charles P. Wisdom Jr.
     Ms. Rachel D. Yavelak

 Enclosure
Case: 5:15-cr-00066-JMH-EBA
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                                              Filed: 04/13/2017     2 - Page
                                                                          2 ID#: 1100



                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT

                                        ________________

                                           No: 16-5045/16-5047/16-
                                        5067
                                        ________________

                                                           Filed: April 13, 2017

 UNITED STATES OF AMERICA

                 Plaintiff - Appellee

 v.

 WINONA JEAN COX

                 Defendant - Appellant



                                                 MANDATE

      Pursuant to the court's disposition that was filed 03/22/2017 the mandate for this case hereby

 issues today.



 COSTS: None
